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 Not for Publication

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                             :
 RAGNER TECHNOLOGY CORP. and                 :
 TRISTAR PRODUCTS INC.,                      :
                                             :         Civil Action No. 15-8185 (ES) (MAH)
                       Plaintiffs,           :
                                             :                       OPINION
                       v.                    :
                                             :
 TELEBRANDS CORP. and                        :
 BULBHEAD.COM, LLC,                          :
                                             :
                       Defendants.           :
                                             :

 SALAS, DISTRICT JUDGE

        Before the Court are motions to dismiss under Federal Rule of Civil Procedure 12(b)(6) by

 all parties. (See D.E. Nos 113, 116 & 120). Defendant Telebrands Corporation (“Telebrands”)

 moves to dismiss Counts V to VIII of Plaintiffs Ragner Technology Corporation (“Ragner”) and

 Tristar Products Inc.’s (“Tristar”) (collectively, “Plaintiffs”) Amended Complaint (D.E. No. 106,

 (“Am. Compl.”)). (D.E. No. 113). Defendant Bulbhead.com, LLC (“Bulbhead”) moves to dismiss

 all claims asserted against it in the Amended Complaint. (D.E. No. 120). And Plaintiffs move to

 dismiss Count XI of Telebrands’ counterclaims. (D.E. No. 116).

        The Court has considered the parties’ submissions and decides the matter without oral

 argument. See Fed. R. Civ. P. 78(b). For the following reasons, the Court DENIES Telebrands’s

 motion, DENIES Bulbhead’s motion, and GRANTS Plaintiffs’ motion.

 I.     Background

        The dispute between these parties spans multiple lawsuits, multiple jurisdictions, and even

 multiple countries. See, e.g., Telebrands Corp. v. Ragner Tech. Corp., No. 15-3163 (D.N.J.);
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 Tinnus v. Telebrands Corp., No. 15-0551 (E.D. Tex.); E. Mishan & Sons, Inc. v. Superlek Canada

 Inc., 2014 FC 326 (Can. Fed. Ct. 2014). The facts are convoluted and the procedural history

 lengthy. Because the Court writes primarily for the parties, the Court provides only a very

 abbreviated version of the facts and procedural history. 1

         Ragner owns U.S. Patent Nos. 7,549,448 (“the ’448 patent”); 9,022,076 (“the ’076

 patent”); 9,182,057 (“the ’057 patent”); and 9,371,944 (“the ’944 patent”) (collectively, “the

 patents-in-suit”), all of which relate to expandable hose technology. (Am. Compl. ¶ 1, Exs. A, B,

 C & D). Tristar is the exclusive licensee of the patents-in-suit. (Am. Compl. ¶ 1). Under the

 brand name “FLEX-ABLE HOSE,” Tristar sells expandable hoses embodying the technology of

 the patents-in-suit. (See id. ¶ 12).

         Telebrands is a direct response marketing company that sells consumer products. (D.E.

 No. 114, (“Counterclaims”) ¶ 28). Relevant here, Telebrands sells expandable hoses under the

 brand “POCKET HOSE,” and is the exclusive licensee of a patent directed to expandable hose

 technology, U.S. Patent No. 8,291,941 (“the ’941 patent”). (Id. ¶¶ 13 & 30). Bulbhead is alleged

 to be affiliated with Telebrands, affiliated with the website www.bulbhead.com, and under

 common control with Telebrands. (Am. Compl. ¶¶ 15 & 17).

         On July 6, 2018, Plaintiffs filed the Amended Complaint. (See generally id.). Plaintiffs

 bring patent infringement claims (Counts I to IV) against Telebrands and Bulbhead for each of the

 patents-in-suit. (Id. ¶¶ 56-91). Plaintiffs also bring four claims (Counts V to VIII) based on unfair

 competition laws. (Id. ¶¶ 92-127).

         In the Amended Complaint, Plaintiffs allege that Telebrands and Bulbhead promulgated a


 1
         The Court must accept the opposing parties’ factual allegations as true for purposes of resolving these
 motions to dismiss. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bistrian v. Levi, 696 F.3d 352, 358 n.1 (3d Cir.
 2012).
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 series of video advertisements that falsely and misleadingly touted the strength of POCKET HOSE

 products. (Id. ¶¶ 48 & 49). For example, Plaintiffs allege that one video falsely and misleadingly

 stated that the POCKET HOSE product was “strong enough to pull this 5,000 pound SUV,” while

 another falsely and misleadingly stated that the product was “tough enough to tow a truck.” (Id.).

 Plaintiffs aver that they were injured by these advertisements through lost sales, through lost

 goodwill and reputation, and through the resulting general disbelief in the novel and utility of

 expandable hoses. (Id. ¶ 50). From these factual allegations, Plaintiffs bring a Lanham Act claim

 (Count V), a claim under N.J. Stat. Ann. § 56:4-1 et seq. (Count VI), and a New Jersey common

 law unfair competition claim (Count VIII)—all under a false advertising theory. (Id. ¶¶ 92-108 &

 118-27).

        Plaintiffs also allege that Telebrands improperly obtained a Ragner prototype from a third

 party, and then used that prototype to develop the POCKET HOSE products. (Id. ¶¶ 44, 113 &

 124). Plaintiffs aver that they were injured by these acts through loss of sales, loss of goodwill

 and reputation, and resulting disbelief in the novel and utility of expandable hoses generally. (Id.

 ¶ 115). From this set of facts, Plaintiffs bring a claim for tortious interference with business

 advantage (Count VII) and an additional legal theory under their New Jersey common law claim

 for unfair competition (Count VIII). (Id. ¶¶ 109-27).

        In their counterclaims, Telebrands seeks declaratory judgment that the patents-in-suit are

 invalid and that Telebrands has not infringed any of them (Counts I to IV & VI to X).

 (Counterclaims ¶¶ 127-48 & 166-205). With respect to the ’076 and ’944 patents, Telebrands also

 seeks declaratory judgment that the patents are unenforceable due to inequitable conduct during

 prosecution (Count V). (Id. ¶¶ 149-65). Specifically, Telebrands alleges that inventors Gary Dean

 Ragner and Robert Daniel deRochement, Jr., and the law firm Frost Brown, breached their duty of


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 candor and good faith by not disclosing that multiple claims had been copied from the ’941 patent

 exclusively licensed to Telebrands. (Id. ¶¶ 13, 71, 75, 82, & 96). Telebrands also brings a

 “misappropriation of intellectual property” counterclaim (Count XI) that appears to be based on

 the same facts. (See id. ¶¶ 206-18).

           In its motion, Telebrands moves to dismiss the four claims Plaintiffs assert based on unfair

 competition laws (Counts V to VIII). (D.E. No. 113-1). Bulbhead in its motion moves to dismiss

 all claims asserted against it. (D.E. No. 120-1). And Plaintiffs move in their motion to dismiss

 Telebrands’s counterclaim for misappropriation of intellectual property (Count XI). (D.E. No.

 116-1).

 II.       Legal Standard

           “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678

 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility

 when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

 the defendant is liable for the misconduct alleged.” Id. In a Federal Rule of Civil Procedure

 12(b)(6) motion to dismiss, the burden is on the moving party to show that the plaintiff has not

 stated a facially plausible claim. See Davis v. Wells Fargo, 824 F.3d 333, 349 (3d Cir. 2016).

 Moreover, “[a]ll allegations in the complaint must be accepted as true, and the plaintiff must be

 given the benefit of every favorable inference to be drawn therefrom.” Malleus v. George, 641

 F.3d 560, 563 (3d Cir. 2011). But a court does not accept as true the complaint’s legal conclusions.

 See Iqbal, 556 U.S. at 678 (“[T]he tenet that a court must accept as true all the allegations contained

 in a complaint is inapplicable to legal conclusions.”).

           “[A] court must consider only the complaint, exhibits attached to the complaint, matters of


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 public record, as well as undisputedly authentic documents if the complainant’s claims are based

 upon these documents.” Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010); see also Buck v.

 Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006) (“In evaluating a motion to dismiss,

 we may consider documents that are attached to or submitted with the complaint, and any matters

 incorporated by reference or integral to the claim, items subject to judicial notice, matters of public

 record, orders, and items appearing in the record of the case.” (citations and internal quotation

 marks omitted)). “The purpose of this rule is to avoid the situation where a plaintiff with a legally

 deficient claim that is based on a particular document can avoid dismissal of that claim by failing

 to attach the relied upon document.” Jeffrey Rapaport M.D., P.A. v. Robins S. Weingast & Assocs.

 Inc., 859 F. Supp. 2d 706, 714 (D.N.J. 2012).

 III.   Discussion

        A.      Telebrands’s Motion to Dismiss Counts V to VIII of the Amended Complaint

        Telebrands moves to dismiss Plaintiffs’ false advertising claim under the Lanham Act

 (Count V), unfair competition claim under N.J. Stat. Ann. § 56:4-1 et seq. (Count VI), claim for

 tortious interference with prospective business advantage (Count VII), and claim for common law

 unfair competition (Count VIII). (D.E. No. 113-1).

                i.      Plaintiffs’ false advertising claim under the Lanham Act

        A plaintiff must allege five elements to state a false advertising claim under Section 43(a)

 of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B):

                1) . . . the defendant has made false or misleading statements as to
                his own product [or another’s]; 2) . . . there is actual deception or at
                least a tendency to deceive a substantial portion of the intended
                audience; 3) . . . the deception is material in that it is likely to
                influence purchasing decisions; 4) . . . the advertised goods traveled
                in interstate commerce; and 5) . . . there is a likelihood of injury to
                the plaintiff in terms of declining sales, loss of good will, etc.


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 Group SEB USA, Inc. v. Euro-Pro Operating, LLC, 774 F.3d 192, 198 (3d Cir. 2014) (quoting

 Pernod Ricard USA, LLC v. Bacardi U.S.A., Inc., 653 F3d. 241, 248 (3d Cir. 2011)). Regarding

 the first element, a plaintiff must show “that the advertisement ‘is either (1) literally false or (2)

 literally true or ambiguous, but has the tendency to deceive consumers.’” Id. (quoting Novartis

 Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharm. Co., 290 F.3d 578, 586

 (3d Cir. 2002)); see also Castrol Inc. v. Pennzoil Co., 987 F.2d 939, 943 (3d Cir. 1993) (“[A]

 plaintiff must prove either literal falsity or consumer confusion, but not both.”).

         Determining whether a message in an advertisement is literally false requires a contextual

 analysis. Group SEB USA, 774 F.3d at 198. A court first determines whether a message is

 unambiguous. Id. Only if a court finds a message unambiguous does it turn to the question of

 whether the statement is false. Id. A literally false message may be either explicit, or necessarily

 implicated by the advertisement as a whole. Id. “The greater the degree to which a message relies

 upon the viewer or consumer to integrate its components and draw the apparent conclusion . . . the

 less likely it is that a finding of literal falsity will be supported.” Id. at 198-99 (internal quotation

 marks omitted).

         If a message is literally true or ambiguous, a plaintiff must show actual deception or a

 tendency to deceive, such as with consumer survey evidence. See Pernod Ricard USA, 653 F.3d

 at 248. Finally, puffery, i.e. “an exaggeration or overstatement expressed in broad, vague, and

 commendatory language,” is not actionable under Section 43(a) of the Lanham Act. Castrol, 987

 F.2d at 945; see also W. Page Keeton, et al., PROSSER AND KEETON ON THE LAW OF TORTS § 109,

 at 756-57 (5th ed. 1984) (“Such sales talk, or puffing, as it is commonly called, is considered to be

 offered and understood as an expression of the seller’s opinion only, which is to be discounted as

 such by the buyer. . . . The ‘puffing’ rule amounts to a seller’s privilege to lie his head off, so long


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 as he says nothing specific.”).

         Here, Telebrands challenges the sufficiency of Plaintiffs’ pleading of the first and third

 elements. (See D.E. No. 113-1 at 6-8). Regarding the first element, Telebrands argues that

 “Plaintiffs do not assert . . . that the video advertisements relating to the strength of POCKET

 HOSE products are literally false . . . . [or] that these video advertisements are misleading, i.e.,

 literally true but tending to deceive.” (Id. at 6-7). Telebrands argues that the advertisements’

 statements “[i]t’s strong enough to pull this 5,000 pound SUV” and “[i]t’s tough enough to tow a

 truck” only communicate a message that the hoses could pull the vehicles shown in the

 advertisements—not that the hoses could pull a vehicle generally. (Id. at 7). Telebrands therefore

 contends that there is no plausible factual basis for concluding that the advertisements are false or

 misleading. (Id.). As to the third element, Telebrands contends that the statements-at-issue “are a

 form of non-actionable puffery to tout the high strength of the POCKET HOSE products and [are]

 not directed to the hose’s qualities to function as a hose (other than its strength generally) . . . .”

 (Id.). Telebrands argues that Plaintiffs’ have not adequately pleaded materiality, as “[i]t is

 implausible that any customer is being induced to purchase the POCKET HOSE products to pull

 their vehicles.” (Id.).

         The Court holds that Telebrands has not met its burden of showing that Plaintiffs have

 failed to state a facially plausible, false advertising claim. See Davis, 824 F.3d at 349. First,

 contrary to Telebrands’s assertion, and as Plaintiffs correctly point out, the Amended Complaint

 does allege that the statements-at-issue are literally false or misleading. (See D.E. No. 115 at 7-

 8). Paragraph 93 states “Defendants have made and continue to make commercial advertising and

 promotional claims, including without limitation those described in paragraphs 48-49, that are

 false and misleading statements of fact . . . and that both deceive and have the capacity to deceive


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 a substantial segment of the relevant consumers and potential customers . . . .” (Am. Compl. ¶ 93

 (emphasis added)). Paragraph 48 of the Amended Complaint identifies the video advertisements

 and lists the statements-at-issue. (See id. ¶ 48). Paragraph 49 of the Amended Complaint goes on

 to allege that “[e]ach of [the previous] statements is unequivocally false.” (See id. ¶ 49 (emphasis

 added)). The Court does not see how Plaintiffs have failed to allege that the statements in the

 video advertisements are literally false or misleading.

        Second, Plaintiffs have pleaded facts sufficient to demonstrate that Telebrands and

 Bulbhead have made false or misleading statements as to its POCKET HOSE products. For

 example, Plaintiffs allege that one of the video advertisements states the following regarding

 POCKET HOSE ULTRA: “[i]t’s tough enough to tow a truck.” (Am. Compl. ¶ 48). Plaintiffs

 allege that the statement is “unequivocally false”—i.e., that POCKET HOSE ULTRA is not tough

 or strong enough to tow a truck. (See id. ¶ 49). Plaintiffs then provide a link to a non-party video

 purportedly demonstrating the falsity of the statement. (Id.). These pleaded facts, accepted as true

 and read in a light favorable to Plaintiffs, lead to the reasonable inference that the statement in the

 video is unambiguous and false, or at least that it has a tendency to deceive. See Group SEB USA,

 774 F.3d at 198-99; Malleus, 641 F.3d at 563.

        Third, Plaintiffs have adequately pleaded the third element, materiality. For example,

 Plaintiffs allege that “[u]pon information and belief, [Telebrands and Bulbhead’s] false and

 misleading advertisements led to increased sales of Pocket Hoses, to the detriment of Plaintiffs.”

 (Am. Compl. ¶ 50). This pleaded fact, accepted as true and read in a light favorable to Plaintiffs,

 lead to the reasonable inference that the deception “is likely to influence purchasing decisions.”

 See Group SEB USA, 774 F.3d at 198-99; Malleus, 641 F.3d at 563.

        Telebrands’s arguments otherwise on materiality are unpersuasive. Telebrands argues that


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 the advertisement videos are not material because “[i]t is implausible that any customer is being

 induced to purchase the POCKET HOSE products to pull their vehicles.” (D.E. No. 113-1 at 7).

 But then Telebrands acknowledges that the video advertisements speak generally to the high

 strength of the products. (Id.). Plaintiffs likewise contend that the video advertisements speak to

 the high strength of POCKET HOSE products, albeit falsely. (D.E. No. 115 at 12). At the motion-

 to-dismiss stage, the Court cannot say that allegedly false advertisements touting a product’s high

 strength would not influence purchase decisions. See Group SEB USA, 774 F.3d at 198-99;

 Malleus, 641 F.3d at 563.

        Nor can the Court at this time conclude as a matter of law that the statements at issue are

 non-actionable puffery. (See D.E. No. 113-1 at 7). Telebrands provides no case law to support its

 puffery argument. (See id.). Plaintiffs, on the other hand, provide a line of case law indicating

 that statements directed to specific, measurable product attributes are not puffery. (See D.E. No.

 115 at 12-13); see, e.g., Castrol, 987 F.2d at 946 (rejecting argument that the defendant’s claim of

 engine protection was puffery where “the claim [was] both specific and measurable by

 comparative research” and citing to a line of cases holding similarly). Telebrands claims appear

 specific (e.g., “[i]t’s strong enough to pull this 5,000 pound SUV”) and directed to a product

 attribute that the Court at this stage can only assume is measurable (i.e., strength).

        Finally, “[g]iven the fact-intensive issues presented by these statements—i.e., are the

 statements false or misleading (as opposed to nonactionable puffing), and did they deceive and

 influence purchasing decisions?—the Court finds that it is not proper to formally resolve these

 issues at the motion-to-dismiss stage.” See Horizon Healthcare Servs., Inc. v. Valley Health Sys.,

 No. 16-0545, 2016 WL 4770032, at *5 (D.N.J. Sept. 12, 2016); see also D’Agostino v. Appliances

 Buy Phone, Inc., 633 F. App’x 88, 94 (3d Cir. 2015) (holding that determining when a copyright


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  claim accrued “require[d] a resolution of factual issues that is inappropriate on a motion to

  dismiss”). The Court therefore will not delve into each statement from the advertisements to

  determine whether each actually violates the Lanham Act. The Court simply “finds that the

  pleadings sufficiently demonstrate a plausible claim to relief such that they are ‘entitled to offer

  evidence to support the claims,’” and that Telebrands has not met its burden of demonstrating

  otherwise. See Horizon Healthcare, 2016 WL 4770032, at *5 (quoting United States ex rel.

  Wilkins, 659 F.3d 295, 302 (3d Cir. 2011)); Davis, 824 F.3d at 349; (see also Am. Compl. ¶¶ 20,

  47-51, 54 & 93). Telebrands’s motion to dismiss Count V is denied.

                 ii.     Plaintiffs’ unfair competition claims under N.J. Stat. Ann. § 56:4-1 et seq.
                         and New Jersey common law

         New Jersey statutory and common-law unfair competition claims mirror claims under

  Section 43(a) of the Lanham Act. See NY Machinery Inc. v. Korean Cleaners Monthly, No. 17-

  12269, 2018 WL 2455926, at *4 (D.N.J. May 31, 2018); see also Am. Tel. & Tel. Co. v. Winback

  & Conserve Program, Inc., 42 F.3d 1421, 1433 (3d Cir. 1994) (“We previously have held that the

  ‘federal law of unfair competition under § 43(a) is not significantly different from the New Jersey

  [common] law of unfair competition’ and have applied the identical test to both claims.”). For the

  same reasons the Court denies Telebrands’s motion to dismiss Count V, the Court denies

  Telebrands’s motion to dismiss Counts VI and VIII of the Amended Complaint.                   See NY

  Machinery, 2018 WL 2455926, at *4.

                 iii.    Plaintiffs’ claim for tortious interference with prospective business
                         advantage

         To state a claim for tortious interference with prospective business advantage under New

  Jersey law, a plaintiff must allege “[1] that it had a reasonable expectation of economic advantage,

  [2] which was lost as a direct result of [defendant’s] malicious interference, and [3] that it suffered

  losses thereby.” Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d 354, 382 (3d Cir. 2016) (citations
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  omitted) (quoting Ideal Dairy Farms, Inc. v. Farmland Dairy Farms, Inc., 659 A.2d 904, 932 (N.J.

  Super. Ct. App. Div. 1995)). This cause of action “protects the right ‘to pursue one’s business,

  calling or occupation free from undue influence or molestation.’” Printing Mart-Morristown v.

  Sharp Elecs. Corp., 563 A.2d 31, 36 (N.J. 1989) (quoting Louis Kamm, Inc. v. Flink, 175 A. 62,

  66 (N.J. 1934)). “What is actionable is the luring away, by devious, improper and unrighteous

  means, of the customer of another.” Avaya, 838 F.3d at 382 (cleaned up).

         The Court finds that Plaintiffs have sufficiently pleaded a claim for intentional interference

  with prospective business advantage. Plaintiffs allege that Ragner had developed a prototype that

  embodies the invention disclosed and claimed in the ’448 Patent. (See Am. Compl. ¶ 44).

  Plaintiffs allege that “Tristar sells [the patented] hoses under the brand name ‘FLEX-ABLE

  HOSE’” and that through this invention they have “a protected interest in their prospective

  business advantage with their prospective customers.” (Id. ¶¶ 12 & 110). Plaintiffs’ allegation

  that they had conceived and reduced to practice a patentable invention is an “allegation[] of fact

  giving rise to some ‘reasonable expectation of economic advantage.’” Printing Mart, 563 A.2d at

  37 (quoting Harris v. Perl, 197 A.2d 359, 363 (N.J. 1964)). And Plaintiffs’ allegation that Tristar

  was selling the invention “demonstrate[s] that [they] w[ere] in ‘pursuit’ of business.” Id. This is

  enough to satisfy the first prong.

         As to the second prong, Plaintiffs allege that “Telebrands improperly, and without Ragner

  Corp.’s consent, obtained Ragner Corp.’s . . . prototype . . . from a third party who was under an

  obligation not to disclose it” and that Telebrands developed and sold its own product based on the

  improperly obtained prototype. (Am. Compl. ¶¶ 44 & 45). Plaintiffs also allege that Telebrands’

  CEO stated that Telebrands “created Pocket Hose by adapting the idea of an earlier product by”

  Plaintiffs. (See id. ¶¶ 2, 16 & 45). Taking another company’s prototype and developing and selling


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  one’s own product from it “would not be sanctioned by ‘the rules of the game’” and is wrongful

  conduct. See Avaya, 838 F.3d at 383 (quoting Printing Mart, 563 A.2d at 40); Lamorte Burns &

  Co. v. Walters, 770 A.2d 1158, 1172 (N.J. 2001) (The “taking of plaintiff’s confidential and

  proprietary property and then using it effectively to target plaintiff[’s] clients, is contrary to the

  notion of free competition that is fair.”). Plaintiffs have adequately pleaded “the intentional doing

  of a wrongful act without justification or excuse.” See Avaya, 838 F.3d at 383 (quoting Printing

  Mart, 563 A.2d at 39).

            Regarding the third element, loss and causation, Plaintiffs allege that they directly compete

  with Telebrands and Bulbhead “for sales of consumer expandable hoses and for wholesale

  customers that sell consumer expandable hoses to their customers.” (Am. Compl. ¶ 42). Plaintiffs

  also allege that “[a]s a result of [Telebrands and Bulbhead’s] copying of Plaintiffs’ product,”

  Telebrands and Bulbhead have “captur[ed] major wholesale customers and caus[ed] Tristar to lose

  sales of its hoses to those major wholesale customers.” (Id. ¶ 46). These allegations are enough

  to support a finding that, but for Telebrands and Bulbhead’s alleged tortious interference, Plaintiffs

  would have consummated sales to wholesale customers and made a profit. See Avaya, 838 F.3d

  at 383.

            The Court is not persuaded by Telebrands’s arguments that Plaintiffs have not stated a

  viable claim for tortious interference with prospective business advantage. (See D.E. No. 113-1 at

  9-12). Telebrands argues that Plaintiffs’ failure to identify a specific, interfered-with transaction

  is fatal to their claim. (Id. at 10-11). This argument is meritless. “Courts have found ‘a reasonable

  expectation of economic gain in as slight an interest as prospective public sales.’” Avaya, 838

  F.3d at 383 (quoting Printing Mart, 563 A.2d at 39 (collecting cases)). For the reasons the Court

  has explained above with respect to the second and third elements, Telebrands’s argument that


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  Plaintiffs have not adequately pleaded malice or causation is also meritless. If anything constitutes

  the “luring away, by devious, improper and unrighteous means, of the customer of another,” it is

  taking a confidential and proprietary prototype of another and selling your own version of it to

  their prospective customers. See Avaya, 838 F.3d at 382 (cleaned up). The Court denies

  Telebrands’s motion to dismiss Count VII of the Amended Complaint.

         For the foregoing reasons, the Court denies Telebrands’s motion to dismiss in its entirety.

         B.      Bulbhead’s Motion to Dismiss

         Bulbhead moves to dismiss all claims asserted against it in the Amended Complaint. (D.E.

  No. 120-1). Without a single legal citation and with little reference to the Amended Complaint,

  Bulbhead argues that “Plaintiffs have not sufficiently alleged that Bulbhead.com, LLC was

  engaged in any activity associated with the alleged infringement of Plaintiffs’ patents or the

  business torts set forth in the First Amended Complaint.” (Id. at 5-6). Bulbhead argues that

  Plaintiffs “do[] not allege that Bulbhead.com, LLC committed any act of infringement or any act

  in furtherance of a business tort other than through the Bulbhead website, which is operated by

  Telebrands.” (Id. at 5). Bulbhead accuses Plaintiffs of purposefully obfuscating Bulbhead.com,

  LLC, the Bulbhead website, and the Bulbhead brand. (Id. at 6). In sum, Bulbhead argues that

  Plaintiffs have not shown a sufficient link between it (i.e., Bulbhead.com, LLC) and the Bulbhead

  website (i.e., www.bulbhead.com). (See id. at 5-6). In the alternative, Bulbhead incorporates by

  reference the arguments in Telebrands’s motion to dismiss and argues that Counts V to VIII should

  be dismissed. (Id. at 6).

         Plaintiffs contend that they have sufficiently pleaded Bulbhead’s control over the Bulbhead

  website. (D.E. No. 125 at 4-6). Plaintiffs contend that Bulbhead admitted in another case that it

  owns www.bulbhead.com. (Id. at 6). Plaintiff also contends that United States Patent and


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  Trademark Office (“USPTO”) records contradict Bulbhead’s position. (Id. at 6-7).

         The Court considers the connections between Telebrands, Bulbhead, the website

  www.bulbhead.com, and the Bulbhead brand, issues of fact inappropriate to resolve at the motion-

  to-dismiss stage. See Horizon Healthcare, 2016 WL 4770032, at *5; D’Agostino, 633 F. App’x at

  94. The Court holds only that Plaintiffs have pleaded sufficient facts to link Bulbhead to alleged

  infringement and business torts in the Amended Complaint and survive a motion to dismiss. For

  example, Plaintiffs allege that Bulbhead is a business entity “affiliated with Telebrands, with

  Bulbhead being Telebrands’s website, and Bulbhead (and, therefore, Telebrands) makes profits

  from selling Telebrands infringing Pocket Hoses via the Internet.” (Am. Compl. ¶¶ 14-15).

  Plaintiffs further allege that “Telebrands and Bulbhead are under common control, with Mr.

  Khubani as the CEO and founder of” both businesses. (Id. ¶ 17). Plaintiffs aver that “upon

  information and belief, Telebrands has transferred and is transferring accounts from Telebrands to

  Bulbhead.” (Id. ¶ 21). Finally, Plaintiffs generally do not distinguish between Telebrands and

  Bulbhead when asserting Plaintiffs’ theories of liability. (See id. ¶¶ 56-127).

         The Court rejects Bulbhead’s alternative arguments for the same reasons stated above in

  denying Telebrands’s motion. Bulbhead’s motion to dismiss is denied.

         C.      Plaintiffs’ Motion to Dismiss Count XI of Telebrands’ Counterclaims

         Plaintiffs move to dismiss Telebrands’s counterclaim for misappropriation of intellectual

  property (Count XI). (D.E. No. 116). Plaintiffs argue that neither New Jersey state courts nor

  federal courts applying New Jersey law recognize a cause of action for misappropriation of a

  patent. (See D.E. No. 116-1 at 3-4). Plaintiffs contend that Count XI simply repackages

  Telebrands’s inequitable conduct counterclaim and is therefore preempted by federal patent law.

  (Id. at 4-6). Plaintiffs also contend that the factual allegations underlying Count XI do not align


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  with any other unfair competition theory under New Jersey law. (See id. at 6-10).

         In opposition, Telebrands argues that misappropriation of intellectual property is a

  recognized cause of action under New Jersey’s unfair competition case law. (D.E. No. 126 at 2-

  5). Telebrands also argues that its counterclaim is not preempted by patent law because the cause

  of action contains the additional element of direct competition. (Id. at 7-9).

         Plaintiffs reply that Telebrands’s opposition “lacks any discussion of the required elements

  of any recognized misappropriation claim under New Jersey law” and “does not address whether

  and how any alleged facts could be mapped to any requisite element. (D.E. No. 127 at 2). Plaintiffs

  contend that each of the cases Telebrands relies on is inapposite or distinguishable. (See id. at 3-

  9).

         The Court finds Plaintiffs’ arguments persuasive. As currently pleaded, the core factual

  allegations of Count XI appear to be the following: (i) counsel at the law firm Frost Brown copied

  claim language from the ’941 patent exclusively licensed to Telebrands into patent applications

  that issued as the ’076 and ’944 patents; (ii) during prosecution, the inventors and Frost Brown did

  not disclose this conduct to the USPTO, in violation of their duty of candor; and (iii) because of

  this improper conduct, the ’076 and ’944 patents were obtained fraudulently. (See Counterclaims

  ¶¶ 13, 71, 75, 82, 96, 99-100 & 206-16). The counterclaim does not specify what intellectual

  property right was misappropriated, but it appears to be the ’944 patent rights licensed to

  Telebrands. (See generally id.).

         The Court is not aware of any New Jersey state court or federal court decision recognizing

  misappropriation of a patent, or the legal language contained in a patent claim, as a valid cause of

  action. And Telebrands does not provide a case. (See generally D.E. No. 126). Telebrands’s

  reliance on Rudolph v. Yari Film Group Releasing is misplaced. See No. 06-1511, 2007 WL


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  674708 (D.N.J. Feb. 23, 2007). That case simply applied existing Third Circuit authority in the

  copyright realm to hold that the federal copyright statute did preempt the plaintiff’s claim of

  misappropriation by unfair competition. Id. at *3-4. Thus, the case does not provide support for

  the proposition that misappropriating a patent or the legal language contained therein is actionable.

  See id. Similarly, Scibetta v. Slingo, Inc., does not support Telebrands’s position. See No. 16-

  8175, 2018 WL 466224 (D.N.J. Jan. 17, 2018). Scibetta does not address whether a valid cause

  of action exists under New Jersey law for misappropriation of a patent; the Scibetta court denied

  the motion to dismiss based on the moving party’s burden and the deficiencies in both parties’

  briefing. See id. at *18.

         Moreover, the Court is unaware of any recognized cause of action under New Jersey’s

  unfair competition case law that mirrors the factual allegations of Count XI. As Plaintiffs point

  out, Telebrands does not discuss the required elements of any misappropriation claim under New

  Jersey law which might be applicable to Count XI. (See D.E. No. 116-1).

         For these reasons, the Court dismisses Count XI for failure to state a recognized

  independent cause of action. See, e.g., In re Lamictal Indirect Purchaser & Antitrust Consumer

  Litig., 172 F. Supp. 3d 724, 755 (D.N.J. 2016) (dismissing an unjust enrichment claim because

  such a claim is not a recognized independent cause of action in California).

         The Court also dismisses Telebrands’s counterclaim for being preempted by federal patent

  law as currently pleaded. To this point, the Court finds the Semiconductor Energy Lab. Co., Ltd.

  v. Samsung Elecs. Co., Ltd. highly analogous. See 204 F.3d 1368 (Fed. Cir. 2000). In that case,

  the alleged infringer asserted counterclaims under the New Jersey Racketeer Influenced and

  Corrupt Organizations (“RICO”) law, alleging numerous qualifying predicate acts under the

  statute. Id. at 1381. But the underlying factual allegations boiled down to one misdeed: the


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  patentee filing a false statement with the USPTO. Id. at 1382. In holding the counterclaim

  preempted as applied by the alleged infringer, the Federal Circuit reasoned:

                 As pleaded by [the alleged infringer], its New Jersey RICO
                 counterclaims occupy a field identical in scope with the inequitable
                 conduct defense. If the conduct constituting inequitable conduct,
                 without more, could be considered predicate acts under federal or
                 state RICO law, then every accused infringer asserting an
                 inequitable conduct defense would also bring such a RICO
                 counterclaim. An additional state cause of action predicated so
                 squarely on the acts of inequitable conduct would be “contrary to
                 Congress’ preemptive regulation in the area of patent law.”

  Id. (quoting Abbott Labs. v. Brennan, 952 F.2d 1346, 1357 (Fed. Cir. 1991)). The Federal Circuit

  then rejected the alleged infringer’s argument that its New Jersey RICO counterclaim was not

  preempted because the counterclaim “allege[d] additional elements not found in the federal patent

  law cause of action for inequitable conduct . . . .” Id. The alleged infringer had “ignore[d] the

  distinction between acts that may be proven as part of a state RICO violation and those which must

  be proven for liability.” Id. And as pleaded by the alleged infringer, the acts constituting the

  necessary elements for the New Jersey RICO claim completely overlapped with the acts

  constituting the alleged infringer’s inequitable conduct defense. Id.

         Here, the Court cannot ascertain a meaningful distinction between Telebrands’s inequitable

  conduct counterclaim and its counterclaim for misappropriation of intellectual property.

  (Compare Counterclaims ¶¶ 149-65, with id. ¶¶ 206-16). Like the New Jersey RICO counterclaim

  in Semiconductor Energy Lab., Telebrands’s counterclaim for misappropriation of intellectual

  property appears to be “an additional state cause of action predicated . . . squarely on the acts of

  inequitable conduct”—i.e., the alleged misconduct of Frost Brown, Gary Dean Ragner, and Robert

  Daniel deRochemont, Jr., before the USPTO in obtaining the ’076 and ’944 patents. See 204 F.3d

  at 1382. Telebrands argues that that patent law does not preempt its counterclaim because the


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  counterclaim “contains the additional element of direct competition.” (D.E. No. 126 at 8). In other

  words, “[t]he crux of Count XI . . . . is that [Plaintiffs] misappropriated Telebrands’ intellectual

  property and used it in direct competition with Telebrands.” (Id. at 9). But this argument is

  unavailing because, like the alleged infringer in Semiconductor Energy Lab., Telebrands

  “conveniently ignores the distinction between acts that may be proven as part of a state [cause of

  action] and those which must be proven . . . .” See 204 F.3d at 1382. Telebrands only argues that

  its counterclaim for misappropriation of intellectual property “contains the additional element of

  direct competition.” (See D.E. No. 127 at 7 (emphasis added)). Telebrands does not argue that

  the element of direct competition is a necessary element of a “misappropriation of intellectual

  property” cause of action. (See id.). Nor can it, as Telebrands does not identify an actual legal

  test, under a recognized New Jersey unfair competition law, for comparison. (See id.).

          The Court grants Plaintiffs’ motion to dismiss, but grants Telebrands one, final chance to

  amend Count XI of its counterclaims.

  IV.     Conclusion

          In summary, for the reasons above, the Court DENIES Telebrands’s and Bulbhead’s

  motions to dismiss (D.E. Nos. 113 & 120), and GRANTS Plaintiffs’ motion to dismiss (D.E. No.

  116).


                                                               s/Esther Salas
                                                               Esther Salas, U.S.D.J.




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